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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


              UNITED STATES OF AMERICA,




              v.                                              CRIMINAL CASE NO.

                                                              1: l 5-CR-0082-TCB-LTW
              GINO SHULER,

                               Defendant.


                   MAGISTRATE JUDGE'S FINAL REPORT AND RECOMMENDATION

                     This matter is presently before the Court to determine the competency of

             Defendant Gino Shuler ("Defendant") to stand trial. Defendant has been indicted by the

             Grand Jury for one count of conspiracy to defraud the United States in violation of 18

             U.S. § 371; five counts of stealing money of the United States in violation of 18 U.S.C.

             § 641; and five counts of aggravated identity theft in violation of 18 U.S.C.§

             1028A(a)( 1) and 2, all of which arise from a scheme to cash stolen United States

             Treasury checks. (Doc. 1). This Court held a competency hearing on January 6, 2017.

             (Doc. 493). The undersigned reports that Defendant is not presently suffering from a

             mental disease or defect rendering him mentally incompetent to the extent that he is

             unable to understand the nature and consequences of the proceedings against him or to

             assist properly in his defense. Instead, this Court finds Defendant Gino Shuler has

             sufficient present ability to consult with his lawyer with a reasonable degree of rational

             understanding and has a rational as well as factual understanding of the proceedings




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             against him. Therefore, the undersigned RECOMMENDS that Defendant be found

             COMPETENT to stand trial. 1

                  IT IS SO REPORTED AND RECOMMENDED, this _2]_ day of April, 2017.




                                                  ls/Linda T. Walker
                                                  LINDA T. WALKER
                                                  UNITED STATES MAGISTRATE JUDGE




                   1Because of the sensitive nature of certain information provided in the Report
             and Recommendation ("R&R"), this Court has filed the R&R under seal.

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